        Case: 2:18-cv-00544-EAS-KAJ Doc #: 107 Filed: 06/14/22 Page: 1 of 1 PAGEID #: 5776
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Southern    District of       Ohio


                      Melissa McFadden,                              )
                             Plaintiff                               )
                                v.                                   )         Civil Action No.      2:18-cv-544
                       City of Columbus,                             )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other:

                                                                                                                                     .

This action was (check one):

   tried by a jury with Judge                              Edmund A. Sargus, Jr.,                     presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge                                                                           on a motion for

                                                                                                                                     .

Date:             06/14/2022                                                  CLERK OF COURT

                                                                                                  s/Denise M. Shane
                                                                                          Signature of Clerk or Deputy Clerk
